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                       EXHIBIT R
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    Direct: 202.857.1722




           December 3, 2021




           VIA EMAIL

           Honorable Bennie G. Thompson, Chairman
           Honorable Liz Cheney, Vice Chair
           Select Committee to Investigate the January 6th Attack on the United States Capitol
           U.S. House of Representatives
           1540A Longworth House Office Building
           Washington, DC 20515




           Re:       Subpoenas Served on Honorable Mark R. Meadows – Request for Production of
                     Documents

           Dear Chair Thompson and Vice Chair Cheney:

                   On behalf of our client, the Honorable Mark R. Meadows, I write in response to the
           subpoena from the Select Committee to Investigate the January 6th Attack on the United States
           Capitol dated September 23, 2021, and to your letter of November 23, 2021. As described below,
           Mr. Meadows is today making a continuing production of documents in response to the subpoena.
           This production includes 2,319 documents and 2,514 pages. For text messages withheld as
           privileged, there are 38 text message threads with attorney-client privilege and 23 text message
           threads with executive privilege.

                   Previously we committed to producing any responsive, non-privileged documents that we
           identify. The documents included in today’s production were collected primarily from backup data
           from Mr. Meadows’s personal devices. As we have previously explained, Mr. Meadows no longer
           has his personal cell phone available to him; this production is based on all remaining available
           data from that device.




                   Atlanta | Austin | Baltimore | Charlotte | Charlottesville | Chicago | Dallas | Houston | Jacksonville | London | Los Angeles - Century City
                        Los Angeles - Downtown | New York | Norfolk | Pittsburgh | Raleigh | Richmond | San Francisco | Tysons | Washington, D.C.
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        This production is based on our careful review of all incoming and outgoing text messages
in Mr. Meadows’s custody or control between the dates of November 3, 2020 to January 21, 2021
as well as any available attachments or other identifiable documents from Mr. Meadows’s personal
computer. In response to the Select Committee’s focus on this time frame in its subpoena, the
review was done for all text messages in this entire date range instead of through application of
more limited search terms, for instance.

         These documents are being produced in response to the Select Committee’s subpoena. This
letter and its attachments, any copies thereof, and any past or future correspondence regarding this
matter, are not intended to waive any of Mr. Meadows’s privileges or rights. They should not be
construed as a waiver of any privilege or right. To the extent that we have identified responsive
documents that are nevertheless privileged, we are providing a privilege log in connection with the
production that identifies the documents withheld and the nature of the privileges asserted.

       The materials included in today’s production are produced in electronic format and Bates
numbered: MM010785 through MM015356. The production file is password protected. We will
provide instructions on accessing the production by separate email, and you should not hesitate to
contact us should any issues arise.

       Today Mr. Meadows is also producing some non-privileged, responsive emails and
attachments that were recovered from his personal computer. Most communications recovered
from this device were associated with his personal email account. Thus, we have previously
reviewed for responsiveness and privilege and produced appropriate communications to the
Select Committee. Any responsive, nonprivileged documents not previously reviewed are being
produced today. This production includes 20 documents in 42 pages.

        As with the initial production, this production and our related correspondence may include
sensitive personal information. We respectfully request that these materials, including this letter
and our other correspondence with the Select Committee and its staff, be treated as confidential
under the House Rules; that they be afforded the fullest protection available by law and policy;
and that they be treated as confidential and exempt from disclosure beyond the Select Committee.
The production of any privileged or otherwise protected information which is not responsive to
the subpoena is unintentional, and we request the prompt return of any such information if
identified or upon our request. We further request that confidential treatment be accorded to any
notes, memoranda, or other records created by or at the direction of the Select Committee or
employees that reflect, refer, or relate to this letter or to any portion of the enclosed productions.

        Please promptly inform me, at the address and phone number listed above, of any request
seeking access to the documents or any of the above-mentioned records, including this letter, to
enable us to substantiate the grounds for confidential treatment, unless the Select Committee
intends to deny such request for access. At the conclusion of the Select Committee’s review of the
enclosed documents, we request that all copies be returned to me at the address above.
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        If you have any questions regarding the enclosed materials or any issues relating to this
matter, please do not hesitate to contact me.



                                                                     Sincerely yours,


                                                                     Michael Francisco*




cc:      Honorable Timothy J. Heaphy, Chief Investigative Counsel
         Honorable John F. Wood, Senior Investigative Counsel

* Not admitted in DC; admitted in CO. Application for admission to the DC bar filed; working under the direct supervision of an

enrolled, active member of the DC bar
